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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION



  AMAZON.COM, INC. AND AMAZON DATA
  SERVICES, INC.,

                        Plaintiffs,

         v.

  WDC HOLDINGS LLC DBA NORTHSTAR
  COMERCIAL PARTNERS; BRIAN                            Civil Action No.
  WATSON; STERLING NCP FF, LLC;                        1:20-cv-00484-LO-TCB
  MANASSAS NCP FF, LLC; NSIPI
  ADMINSITRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPTIAL LLC;
  VILLANOVA TRUST; CARLETON NELSON;
  CASEY KRISCHNER; ALLCORE
  DEVELOPMENT LLC; FINBRIT HOLDINGS
  LLC; CHESHIRE VENTURES LLC; JOHN
  DOES 1-20,

                        Defendants.


         CONSENT OF CASEY KIRSCHNER TO WITHDRAWAL OF COUNSEL

        I, Casey Kirschner, hereby consent to the withdrawal of Alston & Bird LLP as my counsel

 of record in the above-captioned matter.




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  Dated this 27th day of October, 2020.       Respectfully submitted,

                                              /s/ Scott J. Pivnick
                                              Scott J. Pivnick (Va. Bar No. 48022)
                                              Edward Kang (admitted pro hac vice)
                                              Kelley C. Barnaby (admitted pro hac vice)
                                              ALSTON &BIRD LLP
                                              The Atlantic Building
                                              950 F Street, NW
                                              Washington, DC 20004-1404
                                              Phone: 202-239-3300
                                              Fax: 202-239-3333
                                              scott.pivnick@alston.com
                                              edward.kang@alston.com
                                              kelley.barnaby@alston.com

                                              Attorneys for Defendant CASEY KIRSCHNER




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                                CERTIFICATE OF SERVICE

       I certify that on October 27, 2020, I will electronically file the foregoing with the Clerk of

 Court using the CM/ECF system.

                                                     Respectfully submitted,

                                                     /s/ Scott J. Pivnick
                                                     Scott J. Pivnick (Va. Bar No. 48022)
                                                     Edward Kang (admitted pro hac vice)
                                                     Kelley C. Barnaby (admitted pro hac vice)
                                                     ALSTON &BIRD LLP
                                                     The Atlantic Building
                                                     950 F Street, NW
                                                     Washington, DC 20004-1404
                                                     Phone: 202-239-3300
                                                     Fax: 202-239-3333
                                                     scott.pivnick@alston.com
                                                     edward.kang@alston.com
                                                     kelley.barnaby@alston.com

                                                     Attorneys for Defendant CASEY KIRSCHNER




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